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 8                         UNITED STATES DISTRICT COURT
 9                      NORTHERN DISTRICT OF CALIFORNIA
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11 BRYON JACKSON,                                   Case No. 3:21-cv-08458-LB
                                                    [Honorable District Judge, Magistrate
12                Plaintiff,                        Judge Laurel Beeler]
13         v.                                       [MOTION IN LIMINE NO. 9]
14 TARGET CORPORATION,                              [PROPOSED] ORDER GRANTING
                                                    DEFENDANTS' MOTION IN
15                Defendant.                        LIMINE TO EXCLUDE ALL
                                                    EVIDENCE AND ARGUMENT
16                                                  RELATING TO ALLEGATIONS OF
                                                    RACIAL ANIMUS OR BIAS BY
17                                                  DEFENDANTS TOWARD
                                                    PLAINTIFF
18
19                                                  Date: 2/15/2024
                                                    Time: 1:00 thp.m.
20                                                  Crtrm.: B 15 floor
21
22
23         After due consideration of all of the relevant pleadings, papers, and records in
24 this action; and upon such other oral and documentary evidence or argument as was
25 presented to the Court; pursuant to the Court’s inherent and statutory powers, and to
26 the Court’s authority under the Federal Rules and the applicable Local Rules of the
27 United States District Court, Northern District of California, Good Cause appearing
28 therefore, and in furtherance of the interests of justice,

                                                1
                      [PROPOSED] ORDER GRANTING DEFENDANTS’ MIL NO. 9
      Case 3:21-cv-08458-LB Document 108-1 Filed 01/17/24 Page 2 of 3




 1        IT IS HEREBY ORDERED that:
 2        1)     The Court hereby GRANTS the Defendants' Motion In Limine To
 3 Exclude All Evidence and Argument Relating to Allegations of Racial Animus or
 4 Bias by Defendant Toward Plaintiff;
 5        2)     Accordingly, the following matters shall hereby be excluded from
 6 evidence, and from being published to the jury or finder of fact, and from being
 7 admitted into evidence, in this matter any and all evidence, documents, records,
 8 recordings, testimony, statements, opinions based upon, argument based upon, and/or
 9 reference before the jury all evidence and argument relating to:
10        a)     Any and all evidence and arguments relating to allegations of racial
11 animus or bias by any Defendant(s) toward plaintiff in general, and in particular, any
12 alleged racial animus or bias by employee Kimara Smith.
13        IT IS SO ORDERED.
14
15 Dated:
                                                  UNITED STATES DISTRICT
16
                                                  JUDGE
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                     [PROPOSED] ORDER GRANTING DEFENDANTS’ MIL NO. 9
      Case 3:21-cv-08458-LB Document 108-1 Filed 01/17/24 Page 3 of 3




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                   [PROPOSED] ORDER GRANTING DEFENDANTS’ MIL NO. 9
